Case 20-14201-pmm         Doc 93    Filed 06/29/21 Entered 06/29/21 08:42:20              Desc Main
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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE: Larry Lee Wisser aka Larry L. Wisser aka
Larry Wisser                                                                CHAPTER 12
       Cathleen Rachel Wisser aka Cathleen R.
Wisser aka Cathleen Wisser
                            Debtor(s)

United States of America, acting through the Farm                        NO. 20-14201 PMM
Service Agency, U.S. Department of Agriculture
                              Movant
               vs.

Larry Lee Wisser aka Larry L. Wisser aka Larry                  11 U.S.C. Sections 362 and 1301
Wisser
Cathleen Rachel Wisser aka Cathleen R. Wisser aka
Cathleen Wisser
                            Debtor(s)

Scott F. Waterman
                             Trustee

                                             ORDER

        AND NOW, this              day of                  , 2021, upon review of United States of
 America, acting through the Farm Service Agency, U.S. Department of Agriculture’s Motion to
 Quash Subpoenas issued by Debtors, and any response thereto, it is
        ORDERED THAT: the Subpoenas issued by Debtors towards United States of America,
 acting through the Farm Service Agency, U.S. Department of Agriculture and dated June 23, 2021
 are hereby QUASHED.




                                                                      United States Bankruptcy Judge.
